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17
                        IN THE UNITED STATES DISTRICT COURT
18
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                    SOUTHERN DIVISION
20
        MASIMO CORPORATION,                   ) Case No. 8:20-cv-00048-JVS-JDE
21      a Delaware corporation; and           )
        CERCACOR LABORATORIES, INC.,          ) PLAINTIFFS’ OPPOSITION TO
22      a Delaware corporation                ) DEFENDANT APPLE INC.’S EX
                                              ) PARTE MOTION TO STAY
23               Plaintiffs,                  ) PENDING PORTIONS OF SPECIAL
                                              ) MASTER ORDER NO 15
24          v.                                )
                                              )
25      APPLE INC., a California corporation ))
26               Defendant.                   )
                                              )
27                                            )
                           REDACTED VERSION OF DOCUMENT
28                        PROPOSED TO BE FILED UNDER SEAL
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1    v. Madison, 5 U.S. 137, 177 (1803), which said nothing about stays pending review of
2    discovery orders. Nothing suggests the public interest would favor Apple’s request for
3    additional delay rather than the “just, speedy, and inexpensive determination of every
4    action and proceeding.” See Fed. R. Civ. P. 1.
5                                       IV. CONCLUSION
6               For at least the above reasons, Masimo respectfully requests the Court deny
7    Apple’s ex parte application.
8
9                                              Respectfully submitted,
10                                             KNOBBE, MARTENS, OLSON & BEAR, LLP
11
12   Dated: September 13, 2022                 By: /s/ Adam B. Powell
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